Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 1 of 39 PageID #:2037




                   Exhibit 4A
    Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 2 of 39 PageID #:2038



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


                                                   Case No. 1:19-cv-07786

    IN RE BAXTER INTERNATIONAL INC.                District Judge Sara L. Ellis
    SECURITIES LITIGATION
                                                   Magistrate Judge Jeffrey I. Cummings




      DECLARATION OF JAMES A. HARROD IN SUPPORT OF LEAD COUNSEL’S
       MOTION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES, FILED
       ON BEHALF OF BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

        I, James A. Harrod, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.     I am a partner in the law firm of Bernstein Litowitz Berger & Grossman

(“BLB&G”), one of the Court-appointed Lead Counsel firms in the above-captioned securities

class action (“Action”).1 I submit this Declaration in support of Lead Counsel’s motion for an

award of attorneys’ fees in connection with services rendered by Lead Counsel in the Action, as

well as for payment of Litigation Expenses incurred in connection with the Action. I have personal

knowledge of the facts set forth herein and, if called upon, could and would testify thereto.

        2.     My firm, as one of the Court-appointed Lead Counsel firms, was involved in all

aspects of the litigation of the Action and its resolution, as described more fully in the

accompanying Joint Declaration of James A. Harrod and Sharan Nirmul in Support of (I) Lead

Plaintiffs’ Motion for Final Approval of Settlement and Plan of Allocation and (II) Lead Counsel’s

Motion for Attorneys’ Fees and Litigation Expenses.




1
 All capitalized terms that are not otherwise defined herein shall have the meanings set forth in the
Stipulation and Agreement of Settlement dated April 1, 2021 (ECF No. 57-1).
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 3 of 39 PageID #:2039



          3.   Based on my work in the Action as well as the review of time records reflecting

work performed by other attorneys and professional support staff employees at BLB&G in the

Action (“Timekeepers”) as reported by the Timekeepers, I directed the preparation of the chart set

forth as Exhibit 1 hereto. The chart in Exhibit 1: (i) identifies the names and employment positions

(i.e., titles) of the Timekeepers who devoted ten (10) or more hours to the Action; (ii) provides the

total number of hours that each Timekeeper expended in connection with work on the Action, from

the time when potential claims were being investigated through June 30, 2021; (iii) provides each

Timekeeper’s current hourly rate; and (iv) provides the total lodestar of each Timekeeper and the

entire firm. This chart was prepared from daily time records regularly prepared and maintained

by my firm in the ordinary course of business, which are available at the request of the Court. All

time expended in preparing Lead Counsel’s application for attorneys’ fees and expenses has been

excluded – as has the time spent by Timekeepers who spent less than ten hours working on the

Action.

          4.   The hourly rates for the Timekeepers, as set forth in Exhibit 1, are their standard

rates. My firm’s hourly rates are largely based upon a combination of the title, cost to the firm and

the specific years of experience for each attorney and professional support staff employee, as well

as comparable market rates for practitioners in the field. These hourly rates are the same as, or

comparable to, rates submitted by BLB&G and accepted by courts in other complex class actions

for purposes of “cross-checking” lodestar against a proposed fee based on the percentage of the

fund method, as well as determining a reasonable fee under the lodestar method.

          5.   I believe that the number of hours expended and the services performed by the

attorneys and professional support staff employees at or on behalf of BLB&G were reasonable and

necessary for the effective and efficient prosecution and resolution of the Action. The total number

of hours expended by BLB&G in the Action, from inception through June 30, 2021, as reflected

                                                 2
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 4 of 39 PageID #:2040



in Exhibit 1, is 1,742.75. The total lodestar for my firm, as reflected in Exhibit 1, is $1,155,162.50,

consisting of $1,074,768.75 for attorneys’ time and $80,393.75 for professional support staff time.

       6.      Expense items are being submitted separately and are not duplicated in my firm’s

hourly rates. As set forth in Exhibit 2 hereto, BLB&G specifically has incurred a total of

$42,921.67 in unreimbursed expenses in connection with the prosecution and resolution of the

Action. The expenses incurred by BLB&G in the Action are reflected on the books and records

of my firm. These books and records are prepared from expense vouchers, check records, and

other source materials and are an accurate record of the expenses incurred. Based on my active

involvement and supervision of the prosecution of the Action, I believe these expenses were

reasonable and expended for the benefit of the Settlement Class in the Action.

       7.      Below is further information about certain categories of the Litigation Expenses

reflected in Exhibit 2:

               (a)        On-Line Factual and Legal Research – Charges reflected are for out-of-

       pocket payments to the vendors for research done in connection with this Action. On-line

       research is billed to each case based on actual time usage at a set charge by the vendor.

       There are no administrative charges included in these figures.

               (b)        Document Hosting & Management – BLB&G seeks $1,004.64 for the

       costs associated with establishing and maintaining the internal document database that was

       used to process and review the documents produced by Defendants in connection with the

       Due Diligence Discovery conducted. BLB&G charges a rate of $4 per gigabyte of data

       per month and $17 per user per month to recover the costs associated with maintaining its

       document database management system, which includes the costs to BLB&G of necessary

       software licenses and hardware. BLB&G has conducted a review of market rates charged

       for the similar services performed by third-party document management vendors and found

                                                  3
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 5 of 39 PageID #:2041



       that its rate was at least 80% below the market rates charged by these vendors, resulting in

       a savings to the Settlement Class.

               (c)    Experts – BLB&G incurred $11,885.00 for the fees and costs of Lead

       Plaintiffs’ financial economics expert, Chad Coffman of Global Economics Group, LLC,

       and his team, who provided expert analysis of the issues of damages and loss causation.

       Lead Counsel consulted with Mr. Coffman and his team throughout the Action, including

       in connection with drafting the Complaint, in preparation for the mediation, and in

       preparing the Plan of Allocation.

       8.      With respect to the experience and background of my firm, attached hereto as

Exhibit 3 is a firm résumé, which includes information about my firm and biographical information

concerning the firm’s attorneys.

       I declare, under penalty of perjury, that the foregoing facts are true and correct. Executed

on July 6, 2021.



                                                              /s/ James A. Harrod
                                                                James A. Harrod




                                                4
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 6 of 39 PageID #:2042



                                          EXHIBIT 1

                     In re Baxter International Inc. Securities Litigation,
                             Case No. 1:19-cv-07786 (N.D. Ill.)

               BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

                                       TIME REPORT

                               Inception through June 30, 2021

                                                          HOURLY
           NAME                       HOURS                RATE               LODESTAR
Partners
Michael Blatchley                          13.25              $900               11,925.00
Scott Foglietta                            36.00              $825               29,700.00
Salvatore K. Graziano                      21.50            $1,150               24,725.00
James A. Harrod                           240.75            $1,000              240,750.00
Adam Hollander                            449.25              $825              370,631.25
Avi Josefson                               15.50            $1,000               15,500.00

Senior Counsel
David L. Duncan                            74.75              $775               57,931.25

Associates
Catherine Van Kampen                       17.50              $700               12,250.00
Alex Payne                                344.75              $525              180,993.75

Senior Staff Attorney
Saundra Yaklin                            174.50              $425               74,162.50

Staff Attorney
Sheela Aiyappasamy                        140.50              $400               56,200.00

Financial Analysts
Tanjila Sultana                            29.75              $425               12,643.75
Adam Weinschel                             19.50              $550               10,725.00

Investigator
Jacob Foster                               11.00              $300                3,300.00




                                               5
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 7 of 39 PageID #:2043



Paralegals and
Case Managers
Khristine De Leon                  15.75          $325               5,118.75
Matthew Gluck                      92.75          $350              32,462.50
Matthew Mahady                     19.50          $350               6,825.00
Stephanie Yu                       10.50          $325               3,412.50

Managing Clerk
Mahiri Buffong                     15.75          $375               5,906.25

TOTALS                          1,742.75                        $1,155,162.50




                                      6
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 8 of 39 PageID #:2044



                                     EXHIBIT 2

                In re Baxter International Inc. Securities Litigation,
                        Case No. 1:19-cv-07786 (N.D. Ill.)

            BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

                               EXPENSE REPORT

                     CATEGORY                                    AMOUNT
     Court Fees                                                       850.00
     Service of Process                                               206.25
     On-Line Legal Research                                        15,682.03
     On-Line Factual Research                                       8,143.76
     Document Hosting & Management                                  1,004.64
     Telephone                                                         87.13
     Postage & Express Mail                                            62.86
     Experts                                                       11,885.00
     Mediation Fees                                                 5,000.00
                          TOTAL EXPENSES:                         $42,921.67




                                          7
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 9 of 39 PageID #:2045



                                     EXHIBIT 3

                 In re Baxter International Inc. Securities Litigation
                         Case No. 1:19-cv-07786 (N.D. Ill.)

            BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

                                  FIRM RESUME




                                           8
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 10 of 39 PageID #:2046

                                                                                       Trusted
                                                                                       Advocacy.
                                                                                       Proven
                                                                                       Results.




            Bernstein Litowitz Berger & Grossmann LLP
            Attorneys at Law


            Firm Resume




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44th Floor                           Suite 2575                         Suite 14
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Tel: 212-554-1400                    Tel: 310-819-3470                  Tel: 504-899-2339
Fax: 212-554-1444                                                       Fax: 504-899-2342

                  Illinois                              Delaware
                  875 North Michigan Avenue             500 Delaware Avenue
                  Suite 3100                            Suite 901
                  Chicago, IL 60611                     Wilmington, DE 19801
                  Tel: 312-373-3880                     Tel: 302-364-3600
                  Fax: 312-794-7801


                                  www.blbglaw.com
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 11 of 39 PageID #:2047




                                                                 TABLE OF CONTENTS




FIRM OVERVIEW .......................................................................................................................................................1
     More Top Securities Recoveries ............................................................................................................................1
     Giving Shareholders a Voice and Changing Business Practices for the Better .....................................................2
     Advocacy for Victims of Corporate Wrongdoing..................................................................................................2
PRACTICE AREAS ......................................................................................................................................................4
   Securities Fraud Litigation ........................................................................................................................................4
   Corporate Governance and Shareholders’ Rights .....................................................................................................4
   Employment Discrimination and Civil Rights ..........................................................................................................4
   General Commercial Litigation and Alternative Dispute Resolution .......................................................................5
   Distressed Debt and Bankruptcy Creditor Negotiation .............................................................................................5
   Consumer Advocacy .................................................................................................................................................5
THE COURTS SPEAK .................................................................................................................................................6
RECENT ACTIONS & SIGNIFICANT RECOVERIES ..............................................................................................7
   Securities Class Actions ............................................................................................................................................7
   Corporate Governance and Shareholders’ Rights ................................................................................................... 13
   Employment Discrimination and Civil Rights ........................................................................................................ 18
CLIENTS AND FEES ................................................................................................................................................. 19
IN THE PUBLIC INTEREST ..................................................................................................................................... 20
     Bernstein Litowitz Berger & Grossmann Public Interest Law Fellows .................................................. 20
     Firm sponsorship of Her Justice .......................................................................................................................... 20
     The Paul M. Bernstein Memorial Scholarship ..................................................................................................... 20
     Firm sponsorship of City Year New York ........................................................................................................... 20
     Max W. Berger Pre-Law Program ....................................................................................................................... 20
     New York Says Thank You Foundation .............................................................................................................. 20
OUR ATTORNEYS .................................................................................................................................................... 21
   Members ................................................................................................................................................................. 21
        Salvatore J. Graziano ....................................................................................................................................... 21
        Avi Josefson .................................................................................................................................................... 22
        James A. Harrod .............................................................................................................................................. 22
        Michael D. Blatchley ....................................................................................................................................... 23
        Scott R. Foglietta ............................................................................................................................................. 24
        Adam Hollander .............................................................................................................................................. 24
   Senior Counsel ........................................................................................................................................................ 25
        David L. Duncan .............................................................................................................................................. 25
   Associates ............................................................................................................................................................... 26
        Alexander T. Payne ......................................................................................................................................... 26
        Catherine E. van Kampen ................................................................................................................................ 26
   Senior Staff Attorney .............................................................................................................................................. 28
        Saundra Yaklin ................................................................................................................................................ 28
   Staff Attorney ......................................................................................................................................................... 28
        Sheela Aiyappasamy ........................................................................................................................................ 28
 Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 12 of 39 PageID #:2048




      Since our founding in 1983, Bernstein Litowitz Berger & Grossmann
LLP has obtained many of the largest monetary recoveries in history – over
$33 billion on behalf of investors. Unique among our peers, the firm has
obtained the largest settlements ever agreed to by public companies related
to securities fraud, including three of the ten largest in history. Working
with our clients, we have also used the litigation process to achieve
precedent-setting reforms which have increased market transparency, held
wrongdoers accountable and improved corporate business practices in
groundbreaking ways.

            FIRM OVERVIEW
            Bernstein Litowitz Berger & Grossmann LLP (“BLB&G”), a national law firm with offices
            located in New York, California, Louisiana, Illinois, and Delaware, prosecutes class and private
            actions on behalf of individual and institutional clients. The firm’s litigation practice areas include
            securities class and direct actions in federal and state courts; corporate governance and shareholder
            rights litigation, including claims for breach of fiduciary duty and proxy violations; mergers and
            acquisitions and transactional litigation; alternative dispute resolution; distressed debt and
            bankruptcy; civil rights and employment discrimination; consumer class actions and antitrust. We
            also handle, on behalf of major institutional clients and lenders, more general complex commercial
            litigation involving allegations of breach of contract, accountants’ liability, breach of fiduciary
            duty, fraud, and negligence.

            We are the nation’s leading firm in representing institutional investors in securities fraud class
            action litigation. The firm’s institutional client base includes the New York State Common
            Retirement Fund; the California Public Employees’ Retirement System (CalPERS); the Ontario
            Teachers’ Pension Plan Board (the largest public pension funds in North America); the Los
            Angeles County Employees Retirement Association (LACERA); the Chicago Municipal, Police
            and Labor Retirement Systems; the Teacher Retirement System of Texas; the Arkansas Teacher
            Retirement System; Forsta AP-fonden (“AP1”); Fjarde AP-fonden (“AP4”); the Florida State
            Board of Administration; the Public Employees’ Retirement System of Mississippi; the New York
            State Teachers’ Retirement System; the Ohio Public Employees Retirement System; the State
            Teachers Retirement System of Ohio; the Oregon Public Employees Retirement System; the
            Virginia Retirement System; the Louisiana School, State, Teachers and Municipal Police
            Retirement Systems; the Public School Teachers’ Pension and Retirement Fund of Chicago; the
            New Jersey Division of Investment of the Department of the Treasury; TIAA-CREF and other
            private institutions; as well as numerous other public and Taft-Hartley pension entities.


            M O RE T O P S E CU R I T I ES R E CO V E R I E S

            Since its founding in 1983, Bernstein Litowitz Berger & Grossmann LLP has litigated some of the
            most complex cases in history and has obtained over $33 billion on behalf of investors. Unique
            among its peers, the firm has negotiated the largest settlements ever agreed to by public companies
            related to securities fraud, and obtained many of the largest securities recoveries in history
            (including 6 of the top 13):
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 13 of 39 PageID #:2049




                   In re WorldCom, Inc. Securities Litigation – $6.19 billion recovery
                   In re Cendant Corporation Securities Litigation – $3.3 billion recovery
                   In re Bank of America Corp. Securities, Derivative, and Employee Retirement Income
                    Security Act (ERISA) Litigation – $2.43 billion recovery
                   In re Nortel Networks Corporation Securities Litigation (“Nortel II”) – $1.07 billion
                    recovery
                   In re Merck & Co., Inc. Securities Litigation – $1.06 billion recovery
                   In re McKesson HBOC, Inc. Securities Litigation – $1.05 billion recovery*

                                                                 *Source: ISS Securities Class Action Services

           For over a decade, ISS Securities Class Action Services has compiled and published data on
           securities litigation recoveries and the law firms prosecuting the cases. BLB&G has been at or
           near the top of their rankings every year – often with the highest total recoveries, the highest
           settlement average, or both.

           BLB&G also eclipses all competitors on ISS SCAS’s “Top 100 Settlements of All Time” report,
           having recovered nearly 40% of all the settlement dollars represented in the report (over $25
           billion), and having prosecuted over a third of all the cases on the list (35 of 100).


           G I V I N G S H AR E HO L D E R S A V O I C E AN D C H AN GI N G B USI N E S S P R AC T I CE S FO R
           T H E B ET T E R

           BLB&G was among the first law firms ever to obtain meaningful corporate governance reforms
           through litigation. In courts throughout the country, we prosecute shareholder class and derivative
           actions, asserting claims for breach of fiduciary duty and proxy violations wherever the conduct of
           corporate officers and/or directors, as well as M&A transactions, seek to deprive shareholders of
           fair value, undermine shareholder voting rights, or allow management to profit at the expense of
           shareholders.

           We have prosecuted seminal cases establishing precedents which have increased market
           transparency, held wrongdoers accountable, addressed issues in the boardroom and executive
           suite, challenged unfair deals, and improved corporate business practices in groundbreaking ways.

           From setting new standards of director independence, to restructuring board practices in the wake
           of persistent illegal conduct; from challenging the improper use of defensive measures and deal
           protections for management’s benefit, to confronting stock options backdating abuses and other
           self-dealing by executives; we have confronted a variety of questionable, unethical and
           proliferating corporate practices. Seeking to reform faulty management structures and address
           breaches of fiduciary duty by corporate officers and directors, we have obtained unprecedented
           victories on behalf of shareholders seeking to improve governance and protect the shareholder
           franchise.


           A DV O C A CY FO R V I CT I M S O F C O R P O R AT E W R O N G DO I N G

           While BLB&G is widely recognized as one of the leading law firms worldwide advising
           institutional investors on issues related to corporate governance, shareholder rights, and securities
           litigation, we have also prosecuted some of the most significant employment discrimination, civil
           rights and consumer protection cases on record. Equally important, the firm has advanced novel
           and socially beneficial principles by developing important new law in the areas in which we
           litigate.


                                                    2
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 14 of 39 PageID #:2050




           The firm served as co-lead counsel on behalf of Texaco’s African-American employees in Roberts
           v. Texaco Inc., which resulted in a recovery of $176 million, the largest settlement ever in a race
           discrimination case. The creation of a Task Force to oversee Texaco’s human resources activities
           for five years was unprecedented and served as a model for public companies going forward.

           In the consumer field, the firm has gained a nationwide reputation for vigorously protecting the
           rights of individuals and for achieving exceptional settlements. In several instances, the firm has
           obtained recoveries for consumer classes that represented the entirety of the class’s losses – an
           extraordinary result in consumer class cases.




                                                   3
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 15 of 39 PageID #:2051




           PRACTICE AREAS

           S ECURITIES F RAUD L ITIGATION
           Securities fraud litigation is the cornerstone of the firm’s litigation practice. Since its founding,
           the firm has had the distinction of having tried and prosecuted many of the most high-profile
           securities fraud class actions in history, recovering billions of dollars and obtaining unprecedented
           corporate governance reforms on behalf of our clients. BLB&G continues to play a leading role in
           major securities litigation pending in federal and state courts, and the firm remains one of the
           nation’s leaders in representing institutional investors in securities fraud class and derivative
           litigation.

           The firm also pursues direct actions in securities fraud cases when appropriate. By selectively
           opting out of certain securities class actions, we seek to resolve our clients’ claims efficiently and
           for substantial multiples of what they might otherwise recover from related class action
           settlements.

           The attorneys in the securities fraud litigation practice group have extensive experience in the laws
           that regulate the securities markets and in the disclosure requirements of corporations that issue
           publicly traded securities. Many of the attorneys in this practice group also have accounting
           backgrounds. The group has access to state-of-the-art, online financial wire services and
           databases, which enable it to instantaneously investigate any potential securities fraud action
           involving a public company’s debt and equity securities.


           C ORPORATE G OVERNANCE AND S HARE HOLDERS ’ R IGHTS
           The Corporate Governance and Shareholders’ Rights Practice Group prosecutes derivative actions,
           claims for breach of fiduciary duty, and proxy violations on behalf of individual and institutional
           investors in state and federal courts throughout the country. The group has obtained
           unprecedented victories on behalf of shareholders seeking to improve corporate governance and
           protect the shareholder franchise, prosecuting actions challenging numerous highly publicized
           corporate transactions which violated fair process and fair price, and the applicability of the
           business judgment rule. We have also addressed issues of corporate waste, shareholder voting
           rights claims, workplace harassment, and executive compensation. As a result of the firm’s high-
           profile and widely recognized capabilities, the corporate governance practice group is increasingly
           in demand by institutional investors who are exercising a more assertive voice with corporate
           boards regarding corporate governance issues and the board’s accountability to shareholders.

           The firm is actively involved in litigating numerous cases in this area of law, an area that has
           become increasingly important in light of efforts by various market participants to buy companies
           from their public shareholders “on the cheap.”


           E MPLOYMENT D ISCRIMINATION AND C IVI L R IGHTS
           The Employment Discrimination and Civil Rights Practice Group prosecutes class and multi-
           plaintiff actions, and other high-impact litigation against employers and other societal institutions
           that violate federal or state employment, anti-discrimination, and civil rights laws. The practice
           group represents diverse clients on a wide range of issues including Title VII actions: race, gender,
           sexual orientation and age discrimination suits; sexual harassment, and “glass ceiling” cases in
           which otherwise qualified employees are passed over for promotions to managerial or executive
           positions.

           Bernstein Litowitz Berger & Grossmann LLP is committed to effecting positive social change in
           the workplace and in society. The practice group has the necessary financial and human resources
           to ensure that the class action approach to discrimination and civil rights issues is successful. This

                                                    4
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 16 of 39 PageID #:2052



           litigation method serves to empower employees and other civil rights victims, who are usually
           discouraged from pursuing litigation because of personal financial limitations, and offers the
           potential for effecting the greatest positive change for the greatest number of people affected by
           discriminatory practice in the workplace.


           G ENERAL C OMMERCI AL L ITIGATION AND A LTERNATIVE D IS PUTE
           R ESOLUTION
           The General Commercial Litigation practice group provides contingency fee representation in
           complex business litigation and has obtained substantial recoveries on behalf of investors,
           corporations, bankruptcy trustees, creditor committees and other business entities. We have faced
           down powerful and well-funded law firms and defendants – and consistently prevailed. However,
           not every dispute is best resolved through the courts. In such cases, BLB&G Alternative Dispute
           practitioners offer clients an accomplished team and a creative venue in which to resolve conflicts
           outside of the litigation process. BLB&G has extensive experience – and a marked record of
           successes – in ADR practice. For example, in the wake of the credit crisis, we successfully
           represented numerous former executives of a major financial institution in arbitrations relating to
           claims for compensation. Our attorneys have led complex business-to-business arbitrations and
           mediations domestically and abroad representing clients before all the major arbitration tribunals,
           including the American Arbitration Association (AAA), FINRA, JAMS, International Chamber of
           Commerce (ICC) and the London Court of International Arbitration.


           D ISTRESSED D E BT AND B ANKRUPTCY C REDITOR N EGOTIATION
           The BLB&G Distressed Debt and Bankruptcy Creditor Negotiation Group has obtained billions of
           dollars through litigation on behalf of bondholders and creditors of distressed and bankrupt
           companies, as well as through third-party litigation brought by bankruptcy trustees and creditors’
           committees against auditors, appraisers, lawyers, officers and directors, and other defendants who
           may have contributed to client losses. As counsel, we advise institutions and individuals
           nationwide in developing strategies and tactics to recover assets presumed lost as a result of
           bankruptcy. Our record in this practice area is characterized by extensive trial experience in
           addition to completion of successful settlements.


           C ONSUMER A DVOCACY
           The Consumer Advocacy Practice Group at Bernstein Litowitz Berger & Grossmann LLP
           prosecutes cases across the entire spectrum of consumer rights, consumer fraud, and consumer
           protection issues. The firm represents victimized consumers in state and federal courts nationwide
           in individual and class action lawsuits that seek to provide consumers and purchasers of defective
           products with a means to recover their damages. The attorneys in this group are well versed in the
           vast array of laws and regulations that govern consumer interests and are aggressive, effective,
           court-tested litigators. The Consumer Practice Advocacy Group has recovered hundreds of
           millions of dollars for millions of consumers throughout the country. Most notably, in a number
           of cases, the firm has obtained recoveries for the class that were the entirety of the potential
           damages suffered by the consumer. For example, in actions against MCI and Empire Blue Cross,
           the firm recovered all of the damages suffered by the class. The group achieved its successes by
           advancing innovative claims and theories of liabilities, such as obtaining decisions in
           Pennsylvania and Illinois appellate courts that adopted a new theory of consumer damages in mass
           marketing cases. Bernstein Litowitz Berger & Grossmann LLP is, thus, able to lead the way in
           protecting the rights of consumers.




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Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 17 of 39 PageID #:2053




           THE COURTS SPEAK
           Throughout the firm’s history, many courts have recognized the professional excellence and
           diligence of the firm and its members. A few examples are set forth below.

           IN RE WORLDCOM, INC. SECURITIES LITIGATION
           THE HONORABLE DENISE COTE OF THE UNITED STATES DISTRICT COURT FOR
           THE SOUTHERN DISTRICT OF NEW YORK

              “I have the utmost confidence in plaintiffs’ counsel…they have been doing a superb
             job…. The Class is extraordinarily well represented in this litigation.”

              “The magnitude of this settlement is attributable in significant part to Lead Counsel’s
             advocacy and energy…. The quality of the representation given by Lead Counsel...has
             been superb...and is unsurpassed in this Court’s experience with plaintiffs’ counsel in
             securities litigation.”

             “Lead Counsel has been energetic and creative. . . . Its negotiations with the Citigroup
             Defendants have resulted in a settlement of historic proportions.”


           IN RE CLARENT CORPORATION SECURITIES LITIGATION
           T H E H O N O R A B L E C H A R L E S R. B R E Y E R O F T H E U N I T E D S T A T E S D I S T R I C T
           COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

             ”It was the best tried case I’ve witnessed in my years on the bench . . .”

             “[A]n extraordinarily civilized way of presenting the issues to you [the jury]. . . . We’ve
             all been treated to great civility and the highest professional ethics in the presentation of
             the case….”

             “These trial lawyers are some of the best I’ve ever seen.”


           LANDRY’S RESTAURANTS, INC. SHAREHOLDER LITIGATION
           VICE CHANCELLOR J. TRAVIS LASTER OF THE DELAWARE COURT OF
           CHANCERY

             ”I do want to make a comment again about the excellent efforts . . . put into this case. . . .
             This case, I think, shows precisely the type of benefits that you can achieve for
             stockholders and how representative litigation can be a very important part of our
             corporate governance system . . . you hold up this case as an example of what to do.”


           M C C A L L V . S C O T T (C O L U M B I A /HCA D E R I V A T I V E L I T I G A T I O N )
           THE HONORABLE THOMAS A. HIGGINS OF THE UNITED STATES DISTRICT
           COURT FOR THE MIDDLE DISTRICT OF TENNESSEE

             “Counsel’s excellent qualifications and reputations are well documented in the record,
             and they have litigated this complex case adeptly and tenaciously throughout the six years
             it has been pending. They assumed an enormous risk and have shown great patience by
             taking this case on a contingent basis, and despite an early setback they have persevered
             and brought about not only a large cash settlement but sweeping corporate reforms that
             may be invaluable to the beneficiaries.”


                                                        6
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 18 of 39 PageID #:2054




                RECENT ACTIONS & SIGNIFICANT RECOVERIES
                Bernstein Litowitz Berger & Grossmann LLP is counsel in many diverse nationwide class and
                individual actions and has obtained many of the largest and most significant recoveries in history.
                Some examples from our practice groups include:

                S ECURITIES C LASS A CTIONS
CASE:            IN RE WORLDCOM, INC. SECURITIES LITIGATION
COURT:           United States District Court for the Southern District of New York
HIGHLIGHTS:      $6.19 billion securities fraud class action recovery – the second largest in history; unprecedented
                 recoveries from Director Defendants.
CASE SUMMARY:    Investors suffered massive losses in the wake of the financial fraud and subsequent bankruptcy of
                 former telecom giant WorldCom, Inc. This litigation alleged that WorldCom and others
                 disseminated false and misleading statements to the investing public regarding its earnings and
                 financial condition in violation of the federal securities and other laws. It further alleged a
                 nefarious relationship between Citigroup subsidiary Salomon Smith Barney and WorldCom,
                 carried out primarily by Salomon employees involved in providing investment banking services to
                 WorldCom, and by WorldCom’s former CEO and CFO. As Court-appointed Co-Lead Counsel
                 representing Lead Plaintiff the New York State Common Retirement Fund, we obtained
                 unprecedented settlements totaling more than $6 billion from the Investment Bank Defendants who
                 underwrote WorldCom bonds, including a $2.575 billion cash settlement to settle all claims against
                 the Citigroup Defendants. On the eve of trial, the 13 remaining “Underwriter Defendants,”
                 including J.P. Morgan Chase, Deutsche Bank and Bank of America, agreed to pay settlements
                 totaling nearly $3.5 billion to resolve all claims against them. Additionally, the day before trial
                 was scheduled to begin, all of the former WorldCom Director Defendants had agreed to pay over
                 $60 million to settle the claims against them. An unprecedented first for outside directors, $24.75
                 million of that amount came out of the pockets of the individuals – 20% of their collective net
                 worth. The Wall Street Journal, in its coverage, profiled the settlement as literally having “shaken
                 Wall Street, the audit profession and corporate boardrooms.” After four weeks of trial, Arthur
                 Andersen, WorldCom’s former auditor, settled for $65 million. Subsequent settlements were
                 reached with the former executives of WorldCom, and then with Andersen, bringing the total
                 obtained for the Class to over $6.19 billion.


CASE:            IN RE CENDANT CORPORATION SECURITIES LITIGATION
COURT:           United States District Court for the District of New Jersey
HIGHLIGHTS:      $3.3 billion securities fraud class action recovery – the third largest in history; significant corporate
                 governance reforms obtained.
CASE SUMMARY:    The firm was Co-Lead Counsel in this class action against Cendant Corporation, its officers and
                 directors and Ernst & Young (E&Y), its auditors, for their role in disseminating materially false
                 and misleading financial statements concerning the company’s revenues, earnings and expenses for
                 its 1997 fiscal year. As a result of company-wide accounting irregularities, Cendant restated its
                 financial results for its 1995, 1996 and 1997 fiscal years and all fiscal quarters therein. Cendant
                 agreed to settle the action for $2.8 billion to adopt some of the most extensive corporate
                 governance changes in history. E&Y settled for $335 million. These settlements remain the
                 largest sums ever recovered from a public company and a public accounting firm through securities
                 class action litigation. BLB&G represented Lead Plaintiffs CalPERS – the California Public
                 Employees’ Retirement System, the New York State Common Retirement Fund and the New
                 York City Pension Funds, the three largest public pension funds in America, in this action.




                                                         7
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 19 of 39 PageID #:2055



CASE:          IN RE BANK OF AMERICA CORP. SECURITIES, DERIVATIVE, AND EMPLOYEE RETIREMENT
               I N C O M E S E C U R I T Y A C T (E R IS A ) L I T I G A T I O N
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    $2.425 billion in cash; significant corporate governance reforms to resolve all claims. This
               recovery is by far the largest shareholder recovery related to the subprime meltdown and credit
               crisis; the single largest securities class action settlement ever resolving a Section 14(a) claim – the
               federal securities provision designed to protect investors against misstatements in connection with a
               proxy solicitation; the largest ever funded by a single corporate defendant for violations of the
               federal securities laws; the single largest settlement of a securities class action in which there was
               neither a financial restatement involved nor a criminal conviction related to the alleged misconduct;
               and one of the 10 largest securities class action recoveries in history.
DESCRIPTION:   The firm represented Co-Lead Plaintiffs the State Teachers Retirement System of Ohio, the Ohio
               Public Employees Retirement System, and the Teacher Retirement System of Texas in this
               securities class action filed on behalf of shareholders of Bank of America Corporation (“BAC”)
               arising from BAC’s 2009 acquisition of Merrill Lynch & Co., Inc. The action alleges that BAC,
               Merrill Lynch, and certain of the companies’ current and former officers and directors violated the
               federal securities laws by making a series of materially false statements and omissions in
               connection with the acquisition. These violations included the alleged failure to disclose
               information regarding billions of dollars of losses which Merrill had suffered before the BAC
               shareholder vote on the proposed acquisition, as well as an undisclosed agreement allowing Merrill
               to pay billions in bonuses before the acquisition closed despite these losses. Not privy to these
               material facts, BAC shareholders voted to approve the acquisition.

CASE:          I N R E N O R T E L N E T W O R K S C O R P O R A T I O N S E C U R I T I E S L I T I G A T I O N ( “N O R T E L II ” )
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    Over $1.07 billion in cash and common stock recovered for the class.
DESCRIPTION:   This securities fraud class action charged Nortel Networks Corporation and certain of its officers
               and directors with violations of the Securities Exchange Act of 1934, alleging that the Defendants
               knowingly or recklessly made false and misleading statements with respect to Nortel’s financial
               results during the relevant period. BLB&G clients the Ontario Teachers’ Pension Plan Board
               and the Treasury of the State of New Jersey and its Division of Investment were appointed as
               Co-Lead Plaintiffs for the Class in one of two related actions (Nortel II), and BLB&G was
               appointed Lead Counsel for the Class. In a historic settlement, Nortel agreed to pay $2.4 billion in
               cash and Nortel common stock (all figures in US dollars) to resolve both matters. Nortel later
               announced that its insurers had agreed to pay $228.5 million toward the settlement, bringing the
               total amount of the global settlement to approximately $2.7 billion, and the total amount of the
               Nortel II settlement to over $1.07 billion.

CASE:          IN RE MERCK & CO., INC. SECURITIES LITIGATION
COURT:         United States District Court, District of New Jersey
HIGHLIGHTS:    $1.06 billion recovery for the class.
DESCRIPTION:   This case arises out of misrepresentations and omissions concerning life-threatening risks posed by
               the “blockbuster” Cox-2 painkiller Vioxx, which Merck withdrew from the market in 2004. In
               January 2016, BLB&G achieved a $1.062 billion settlement on the eve of trial after more than 12
               years of hard-fought litigation that included a successful decision at the United States Supreme
               Court. This settlement is the second largest recovery ever obtained in the Third Circuit, one of the
               top 11 securities recoveries of all time, and the largest securities recovery ever achieved against a
               pharmaceutical company. BLB&G represented Lead Plaintiff the Public Employees’ Retirement
               System of Mississippi.




                                                                8
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 20 of 39 PageID #:2056



CASE:          I N R E M C K E S S O N HB OC, I N C . S E C U R I T I E S L I T I G A T I O N
COURT:         United States District Court for the Northern District of California
HIGHLIGHTS:    $1.05 billion recovery for the class.
DESCRIPTION:   This securities fraud litigation was filed on behalf of purchasers of HBOC, McKesson and
               McKesson HBOC securities, alleging that Defendants misled the investing public concerning
               HBOC’s and McKesson HBOC’s financial results. On behalf of Lead Plaintiff the New York
               State Common Retirement Fund, BLB&G obtained a $960 million settlement from the company;
               $72.5 million in cash from Arthur Andersen; and, on the eve of trial, a $10 million settlement from
               Bear Stearns & Co. Inc., with total recoveries reaching more than $1 billion.


CASE:          IN RE LEHMAN BROTHERS EQUITY/DEBT SECURITIES LITIGATION
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    $735 million in total recoveries.
DESCRIPTION:   Representing the Government of Guam Retirement Fund, BLB&G successfully prosecuted this
               securities class action arising from Lehman Brothers Holdings Inc.’s issuance of billions of dollars
               in offerings of debt and equity securities that were sold using offering materials that contained
               untrue statements and missing material information.
               After four years of intense litigation, Lead Plaintiffs achieved a total of $735 million in recoveries
               consisting of: a $426 million settlement with underwriters of Lehman securities offerings; a $90
               million settlement with former Lehman directors and officers; a $99 million settlement that
               resolves claims against Ernst & Young, Lehman’s former auditor (considered one of the top 10
               auditor settlements ever achieved); and a $120 million settlement that resolves claims against UBS
               Financial Services, Inc. This recovery is truly remarkable not only because of the difficulty in
               recovering assets when the issuer defendant is bankrupt, but also because no financial results were
               restated, and that the auditors never disavowed the statements.


CASE:          HEALTHSOUTH CORPORATION BONDHOLDER LITIGATION
COURT:         United States District Court for the Northern District of Alabama
HIGHLIGHTS:    $804.5 million in total recoveries.

DESCRIPTION:   In this litigation, BLB&G was the appointed Co-Lead Counsel for the bond holder class,
               representing Lead Plaintiff the Retirement Systems of Alabama. This action arose from
               allegations that Birmingham, Alabama based HealthSouth Corporation overstated its earnings at
               the direction of its founder and former CEO Richard Scrushy. Subsequent revelations disclosed
               that the overstatement actually exceeded over $2.4 billion, virtually wiping out all of HealthSouth’s
               reported profits for the prior five years. A total recovery of $804.5 million was obtained in this
               litigation through a series of settlements, including an approximately $445 million settlement for
               shareholders and bondholders, a $100 million in cash settlement from UBS AG, UBS Warburg
               LLC, and individual UBS Defendants (collectively, “UBS”), and $33.5 million in cash from the
               company’s auditor. The total settlement for injured HealthSouth bond purchasers exceeded $230
               million, recouping over a third of bond purchaser damages.




                                                               9
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 21 of 39 PageID #:2057



CASE:          IN RE CITIGROUP, INC. BOND ACTION LITIGATION
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    $730 million cash recovery; second largest recovery in a litigation arising from the financial crisis.
DESCRIPTION:   In the years prior to the collapse of the subprime mortgage market, Citigroup issued 48 offerings of
               preferred stock and bonds. This securities fraud class action was filed on behalf of purchasers of
               Citigroup bonds and preferred stock alleging that these offerings contained material
               misrepresentations and omissions regarding Citigroup’s exposure to billions of dollars in mortgage-
               related assets, the loss reserves for its portfolio of high-risk residential mortgage loans, and the
               credit quality of the risky assets it held in off-balance sheet entities known as “structured
               investment vehicles.” After protracted litigation lasting four years, we obtained a $730 million cash
               recovery – the second largest securities class action recovery in a litigation arising from the
               financial crisis, and the second largest recovery ever in a securities class action brought on behalf
               of purchasers of debt securities. As Lead Bond Counsel for the Class, BLB&G represented Lead
               Bond Plaintiffs Minneapolis Firefighters’ Relief Association, Louisiana Municipal Police
               Employees’ Retirement System, and Louisiana Sheriffs’ Pension and Relief Fund.


CASE:          IN RE WASHINGTON PUBLIC POWER SUPPLY SYSTEM LITIGATION
COURT:         United States District Court for the District of Arizona
HIGHLIGHTS:    Over $750 million – the largest securities fraud settlement ever achieved at the time.

DESCRIPTION:   BLB&G was appointed Chair of the Executive Committee responsible for litigating the action on
               behalf of the class in this action. The case was litigated for over seven years, and involved an
               estimated 200 million pages of documents produced in discovery; the depositions of 285 fact
               witnesses and 34 expert witnesses; more than 25,000 introduced exhibits; six published district
               court opinions; seven appeals or attempted appeals to the Ninth Circuit; and a three-month jury
               trial, which resulted in a settlement of over $750 million – then the largest securities fraud
               settlement ever achieved.


CASE:          I N R E S C H E R I N G - P L O U G H C O R P O R A T I O N /E N HA NCE S E C U R I T I E S L I T I G A T I O N ; I N R E
               MERCK & CO., INC. VYTORIN/ZETIA SECURITIES LITIGATION
COURT:         United States District Court for the District of New Jersey
HIGHLIGHTS:    $688 million in combined settlements (Schering-Plough settled for $473 million; Merck settled for
               $215 million) in this coordinated securities fraud litigations filed on behalf of investors in Merck
               and Schering-Plough.
DESCRIPTION:   After nearly five years of intense litigation, just days before trial, BLB&G resolved the two actions
               against Merck and Schering-Plough, which stemmed from claims that Merck and Schering
               artificially inflated their market value by concealing material information and making false and
               misleading statements regarding their blockbuster anti-cholesterol drugs Zetia and Vytorin.
               Specifically, we alleged that the companies knew that their “ENHANCE” clinical trial of Vytorin
               (a combination of Zetia and a generic) demonstrated that Vytorin was no more effective than the
               cheaper generic at reducing artery thickness. The companies nonetheless championed the
               “benefits” of their drugs, attracting billions of dollars of capital. When public pressure to release
               the results of the ENHANCE trial became too great, the companies reluctantly announced these
               negative results, which we alleged led to sharp declines in the value of the companies’ securities,
               resulting in significant losses to investors. The combined $688 million in settlements (Schering-
               Plough settled for $473 million; Merck settled for $215 million) is the second largest securities
               recovery ever in the Third Circuit, among the top 25 settlements of all time, and among the ten
               largest recoveries ever in a case where there was no financial restatement. BLB&G represented
               Lead Plaintiffs Arkansas Teacher Retirement System, the Public Employees’ Retirement
               System of Mississippi, and the Louisiana Municipal Police Employees’ Retirement System.



                                                               10
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 22 of 39 PageID #:2058



CASE:          IN RE LUCENT TECHNOLOGIES, INC. SECURITIES LITIGATION
COURT:         United States District Court for the District of New Jersey
HIGHLIGHTS:    $667 million in total recoveries; the appointment of BLB&G as Co-Lead Counsel is especially
               noteworthy as it marked the first time since the 1995 passage of the Private Securities Litigation
               Reform Act that a court reopened the lead plaintiff or lead counsel selection process to account for
               changed circumstances, new issues and possible conflicts between new and old allegations.
DESCRIPTION:   BLB&G served as Co-Lead Counsel in this securities class action, representing Lead Plaintiffs the
               Parnassus Fund, Teamsters Locals 175 & 505 D&P Pension Trust, Anchorage Police and Fire
               Retirement System and the Louisiana School Employees’ Retirement System. The complaint
               accused Lucent of making false and misleading statements to the investing public concerning its
               publicly reported financial results and failing to disclose the serious problems in its optical
               networking business. When the truth was disclosed, Lucent admitted that it had improperly
               recognized revenue of nearly $679 million in fiscal 2000. The settlement obtained in this case is
               valued at approximately $667 million, and is composed of cash, stock and warrants.


CASE:           I N R E W A C H O V I A P R E F E R R E D S E C U R I T I E S A N D B O N D /N O T E S L I T I G A T I O N
COURT:          United States District Court for the Southern District of New York
HIGHLIGHTS:     $627 million recovery – among the 20 largest securities class action recoveries in history; third
                largest recovery obtained in an action arising from the subprime mortgage crisis.
DESCRIPTION:    This securities class action was filed on behalf of investors in certain Wachovia bonds and
                preferred securities against Wachovia Corp., certain former officers and directors, various
                underwriters, and its auditor, KPMG LLP. The case alleges that Wachovia provided offering
                materials that misrepresented and omitted material facts concerning the nature and quality of
                Wachovia’s multi-billion dollar option-ARM (adjustable rate mortgage) “Pick-A-Pay” mortgage
                loan portfolio, and that Wachovia’s loan loss reserves were materially inadequate. According to
                the Complaint, these undisclosed problems threatened the viability of the financial institution,
                requiring it to be “bailed out” during the financial crisis before it was acquired by Wells Fargo.
                The combined $627 million recovery obtained in the action is among the 20 largest securities
                class action recoveries in history, the largest settlement ever in a class action case asserting only
                claims under the Securities Act of 1933, and one of a handful of securities class action recoveries
                obtained where there were no parallel civil or criminal actions brought by government authorities.
                The firm represented Co-Lead Plaintiffs Orange County Employees Retirement System and
                Louisiana Sheriffs’ Pension and Relief Fund in this action.


CASE:           BEAR STEARNS MORTGAGE PASS-THROUGH LITIGATION
COURT:          United States District Court for the Southern District of New York
HIGHLIGHTS:     $500 million recovery - the largest recovery ever on behalf of purchasers of residential mortgage-
                backed securities.
DESCRIPTION:    BLB&G served as Co-Lead Counsel in this securities action, representing Lead Plaintiffs the
                Public Employees’ Retirement System of Mississippi. The case alleged that Bear Stearns &
                Company, Inc.’s sold mortgage pass-through certificates using false and misleading offering
                documents. The offering documents contained false and misleading statements related to, among
                other things, (1) the underwriting guidelines used to originate the mortgage loans underlying the
                certificates; and (2) the accuracy of the appraisals for the properties underlying the certificates.
                After six years of hard-fought litigation and extensive arm’s-length negotiations, the $500 million
                recovery is the largest settlement in a U.S. class action against a bank that packaged and sold
                mortgage securities at the center of the 2008 financial crisis.




                                                              11
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 23 of 39 PageID #:2059



CASE:          GARY HEFLER ET AL. V. WELLS FARGO & COMPANY ET AL
COURT:         United States District Court for the Northern District of California
HIGHLIGHTS:    $480 million recovery - the fourth largest securities settlement ever achieved in the Ninth Circuit
               and the 31st largest securities settlement ever in the United States.
DESCRIPTION:   BLB&G served as Lead Counsel for the Court-appointed Lead Plaintiff Union Asset Management
               Holding, AG in this action, which alleged that Wells Fargo and certain current and former officers
               and directors of Wells Fargo made a series of materially false statements and omissions in
               connection with Wells Fargo’s secret creation of fake or unauthorized client accounts in order to
               hit performance-based compensation goals. After years of presenting a business driven by
               legitimate growth prospects, U.S. regulators revealed in September 2016 that Wells Fargo
               employees were secretly opening millions of potentially unauthorized accounts for existing Wells
               Fargo customers. The Complaint alleged that these accounts were opened in order to hit
               performance targets and inflate the “cross-sell” metrics that investors used to measure Wells
               Fargo’s financial health and anticipated growth. When the market learned the truth about Wells
               Fargo’s violation of its customers’ trust and failure to disclose reliable information to its investors,
               the price of Wells Fargo’s stock dropped, causing substantial investor losses.

CASE:          OHIO PUBLIC EMPLOYEES RETIREMENT SYSTEM V. FREDDIE MAC
COURT:         United States District Court for the Southern District of Ohio
HIGHLIGHTS:    $410 million settlement.
DESCRIPTION:   This securities fraud class action was filed on behalf of the Ohio Public Employees Retirement
               System and the State Teachers Retirement System of Ohio alleging that Federal Home Loan
               Mortgage Corporation (“Freddie Mac”) and certain of its current and former officers issued false
               and misleading statements in connection with the company’s previously reported financial results.
               Specifically, the Complaint alleged that the Defendants misrepresented the company’s operations
               and financial results by having engaged in numerous improper transactions and accounting
               machinations that violated fundamental GAAP precepts in order to artificially smooth the
               company’s earnings and to hide earnings volatility. In connection with these improprieties,
               Freddie Mac restated more than $5 billion in earnings. A settlement of $410 million was reached
               in the case just as deposition discovery had begun and document review was complete.

CASE:          IN RE REFCO, INC. SECURITIES LITIGATION
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    Over $407 million in total recoveries.
DESCRIPTION:   The lawsuit arises from the revelation that Refco, a once prominent brokerage, had for years
               secreted hundreds of millions of dollars of uncollectible receivables with a related entity
               controlled by Phillip Bennett, the company’s Chairman and Chief Executive Officer. This
               revelation caused the stunning collapse of the company a mere two months after its initial public
               offering of common stock. As a result, Refco filed one of the largest bankruptcies in U.S. history.
               Settlements have been obtained from multiple company and individual defendants, resulting in a
               total recovery for the class of over $407 million. BLB&G represented Co-Lead Plaintiff RH
               Capital Associates LLC.




                                                     12
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 24 of 39 PageID #:2060




               C ORPORATE G OVERNANCE AND S HARE HOLDERS ’ R IGHTS
CASE:          CITY OF MONROE EMPLOYEES’ RETIREMENT SYSTEM, DERIVATIVELY ON BEHALF
               OF TWENTY-FIRST CENTURY FOX, INC. V. RUPERT MURDOCH, ET AL.
COURT:         Delaware Court of Chancery
HIGHLIGHTS:    Landmark derivative litigation establishes unprecedented, independent Board-level council to
               ensure employees are protected from workplace harassment while recouping $90 million for the
               company’s coffers.
DESCRIPTION:   Before the birth of the #metoo movement, BLB&G led the prosecution of an unprecedented
               shareholder derivative litigation against Fox News parent 21st Century Fox, Inc. arising from the
               systemic sexual and workplace harassment at the embattled network. After nearly 18 months of
               litigation, discovery and negotiation related to the shocking misconduct and the Board’s extensive
               alleged governance failures, the parties unveil a landmark settlement with two key components: 1)
               the first ever Board-level watchdog of its kind – the “Fox News Workplace Professionalism and
               Inclusion Council” of experts (WPIC) – majority independent of the Murdochs, the Company and
               Board; and 2) one of the largest financial recoveries – $90 million – ever obtained in a pure
               corporate board oversight dispute. The WPIC is expected to serve as a model for public companies
               in all industries. The firm represented 21st Century Fox shareholder the City of Monroe
               (Michigan) Employees’ Retirement System.


CASE:          IN RE ALLERGAN, INC. PROXY VIOLATION SECURITIES LITIGATION
COURT:         United States District Court for the Central District of California
HIGHLIGHTS:    Litigation recovered over $250 million for investors in challenging unprecedented insider trading
               scheme by billionaire hedge fund manager Bill Ackman.
DESCRIPTION:   As alleged in groundbreaking litigation, billionaire hedge fund manager Bill Ackman and his
               Pershing Square Capital Management fund secretly acquire a near 10% stake in pharmaceutical
               concern Allergan, Inc. as part of an unprecedented insider trading scheme by Ackman and Valeant
               Pharmaceuticals International, Inc. What Ackman knew – but investors did not – was that in the
               ensuing weeks, Valeant would be launching a hostile bid to acquire Allergan shares at a far higher
               price. Ackman enjoys a massive instantaneous profit upon public news of the proposed
               acquisition, and the scheme works for both parties as he kicks back hundreds of millions of his
               insider-trading proceeds to Valeant after Allergan agreed to be bought by a rival bidder. After a
               ferocious three-year legal battle over this attempt to circumvent the spirit of the U.S. securities
               laws, BLB&G obtains a $250 million settlement for Allergan investors, and creates precedent to
               prevent similar such schemes in the future. The Plaintiffs in this action were the State Teachers
               Retirement System of Ohio, the Iowa Public Employees Retirement System, and Patrick T.
               Johnson.




                                                     13
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 25 of 39 PageID #:2061



CASE:          UNITEDHEALTH GROUP, INC. SHAREHOLDER DERIVATIVE LITIGATION
COURT:         United States District Court for the District of Minnesota

HIGHLIGHTS:    Litigation recovered over $920 million in ill-gotten compensation directly from former officers for
               their roles in illegally backdating stock options, while the company agreed to far-reaching reforms
               aimed at curbing future executive compensation abuses.
DESCRIPTION:   This shareholder derivative action filed against certain current and former executive officers and
               members of the Board of Directors of UnitedHealth Group, Inc. alleged that the Defendants
               obtained, approved and/or acquiesced in the issuance of stock options to senior executives that
               were unlawfully backdated to provide the recipients with windfall compensation at the direct
               expense of UnitedHealth and its shareholders. The firm recovered over $920 million in ill-gotten
               compensation directly from the former officer Defendants – the largest derivative recovery in
               history. As feature coverage in The New York Times indicated, “investors everywhere should
               applaud [the UnitedHealth settlement]…. [T]he recovery sets a standard of behavior for other
               companies and boards when performance pay is later shown to have been based on ephemeral
               earnings.” The Plaintiffs in this action were the St. Paul Teachers’ Retirement Fund
               Association, the Public Employees’ Retirement System of Mississippi, the Jacksonville Police
               & Fire Pension Fund, the Louisiana Sheriffs’ Pension & Relief Fund, the Louisiana Municipal
               Police Employees’ Retirement System and Fire & Police Pension Association of Colorado.


CASE:          CAREMARK MERGER LITIGATION
COURT:         Delaware Court of Chancery – New Castle County

HIGHLIGHTS:    Landmark Court ruling orders Caremark’s board to disclose previously withheld information,
               enjoins shareholder vote on CVS merger offer, and grants statutory appraisal rights to Caremark
               shareholders. The litigation ultimately forced CVS to raise offer by $7.50 per share, equal to more
               than $3.3 billion in additional consideration to Caremark shareholders.
DESCRIPTION:   Commenced on behalf of the Louisiana Municipal Police Employees’ Retirement System and
               other shareholders of Caremark RX, Inc. (“Caremark”), this shareholder class action accused the
               company’s directors of violating their fiduciary duties by approving and endorsing a proposed
               merger with CVS Corporation (“CVS”), all the while refusing to fairly consider an alternative
               transaction proposed by another bidder. In a landmark decision, the Court ordered the Defendants
               to disclose material information that had previously been withheld, enjoined the shareholder vote
               on the CVS transaction until the additional disclosures occurred, and granted statutory appraisal
               rights to Caremark’s shareholders—forcing CVS to increase the consideration offered to
               shareholders by $7.50 per share in cash (over $3 billion in total).



CASE:          IN RE PFIZER INC. SHAREHOLDER DERIVATIVE LITIGATION
COURT:         United States District Court for the Southern District of New York

HIGHLIGHTS:    Landmark settlement in which Defendants agreed to create a new Regulatory and Compliance
               Committee of the Pfizer Board that will be supported by a dedicated $75 million fund.
DESCRIPTION:   In the wake of Pfizer’s agreement to pay $2.3 billion as part of a settlement with the U.S.
               Department of Justice to resolve civil and criminal charges relating to the illegal marketing of at
               least 13 of the company’s most important drugs (the largest such fine ever imposed), this
               shareholder derivative action was filed against Pfizer’s senior management and Board alleging they
               breached their fiduciary duties to Pfizer by, among other things, allowing unlawful promotion of
               drugs to continue after receiving numerous “red flags” that Pfizer’s improper drug marketing was
               systemic and widespread. The suit was brought by Court-appointed Lead Plaintiffs Louisiana
               Sheriffs’ Pension and Relief Fund and Skandia Life Insurance Company, Ltd. In an
               unprecedented settlement reached by the parties, the Defendants agreed to create a new Regulatory


                                                    14
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 26 of 39 PageID #:2062



               and Compliance Committee of the Pfizer Board of Directors (the “Regulatory Committee”) to
               oversee and monitor Pfizer’s compliance and drug marketing practices and to review the
               compensation policies for Pfizer’s drug sales related employees.


CASE:          M I L L E R E T A . V . I AC/ I N T E R A C T I V E C O R P E T A L .
COURT:         Delaware Court of Chancery
HIGHLIGHTS:    Litigation shuts down efforts by controlling shareholders to obtain “dynastic control” of the
               company through improper stock class issuances, setting valuable precedent and sending strong
               message to boards and management in all sectors that such moves will not go unchallenged.
DESCRIPTION:   BLB&G obtained this landmark victory for shareholder rights against IAC/InterActiveCorp and its
               controlling shareholder and chairman, Barry Diller. For decades, activist corporate founders and
               controllers seek ways to entrench their position atop the corporate hierarchy by granting themselves
               and other insiders “supervoting rights.” Diller lays out a proposal to introduce a new class of non-
               voting stock to entrench “dynastic control” of IAC within the Diller family. BLB&G litigation on
               behalf of IAC shareholders ends in capitulation with the Defendants effectively conceding the case
               by abandoning the proposal. This becomes critical corporate governance precedent, given trend of
               public companies to introduce “low” and “no-vote” share classes, which diminish shareholder
               rights, insulate management from accountability, and can distort managerial incentives by
               providing controllers voting power out of line with their actual economic interests in public
               companies.


CASE:          IN RE DELPHI FINANCIAL GROUP SHAREHOLDER LITIGATION
COURT:         Delaware Court of Chancery – New Castle County
HIGHLIGHTS:    Dominant shareholder is blocked from collecting a payoff at the expense of minority investors.
DESCRIPTION:   As the Delphi Financial Group prepared to be acquired by Tokio Marine Holdings Inc., the conduct
               of Delphi’s founder and controlling shareholder drew the scrutiny of BLB&G and its institutional
               investor clients for improperly using the transaction to expropriate at least $55 million at the
               expense of the public shareholders. BLB&G aggressively litigated this action and obtained a
               settlement of $49 million for Delphi’s public shareholders. The settlement fund is equal to about
               90% of recoverable Class damages – a virtually unprecedented recovery.


CASE:          QUALCOMM BOOKS & RECORDS LITIGATION
COURT:         Delaware Court of Chancery – New Castle County
HIGHLIGHTS:    Novel use of “books and records” litigation enhances disclosure of political spending and
               transparency.
DESCRIPTION:   The U.S. Supreme Court’s controversial 2010 opinion in Citizens United v. FEC made it easier for
               corporate directors and executives to secretly use company funds – shareholder assets – to support
               personally favored political candidates or causes. BLB&G prosecuted the first-ever “books and
               records” litigation to obtain disclosure of corporate political spending at our client’s portfolio
               company – technology giant Qualcomm Inc. – in response to Qualcomm’s refusal to share the
               information. As a result of the lawsuit, Qualcomm adopted a policy that provides its shareholders
               with comprehensive disclosures regarding the company’s political activities and places Qualcomm
               as a standard-bearer for other companies.




                                                               15
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 27 of 39 PageID #:2063



CASE:          IN RE NEWS CORP. SHAREHOLDER DERIVATIVE LITIGATION
COURT:         Delaware Court of Chancery – Kent County
HIGHLIGHTS:    An unprecedented settlement in which News Corp. recoups $139 million and enacts significant
               corporate governance reforms that combat self-dealing in the boardroom.
DESCRIPTION:   Following News Corp.’s 2011 acquisition of a company owned by News Corp. Chairman and CEO
               Rupert Murdoch’s daughter, and the phone-hacking scandal within its British newspaper division,
               we filed a derivative litigation on behalf of the company because of institutional shareholder
               concern with the conduct of News Corp.’s management. We ultimately obtained an unprecedented
               settlement in which News Corp. recouped $139 million for the company coffers, and agreed to
               enact corporate governance enhancements to strengthen its compliance structure, the independence
               and functioning of its board, and the compensation and clawback policies for management.


CASE:          I N R E ACS S H A R E H O L D E R L I T I G A T I O N (X E R O X )
COURT:         Delaware Court of Chancery – New Castle County
HIGHLIGHTS:    BLB&G challenged an attempt by ACS CEO to extract a premium on his stock not shared with the
               company’s public shareholders in a sale of ACS to Xerox. On the eve of trial, BLB&G obtained a
               $69 million recovery, with a substantial portion of the settlement personally funded by the CEO.
DESCRIPTION:   Filed on behalf of the New Orleans Employees’ Retirement System and similarly situated
               shareholders of Affiliated Computer Service, Inc., this action alleged that members of the Board of
               Directors of ACS breached their fiduciary duties by approving a merger with Xerox Corporation
               which would allow Darwin Deason, ACS’s founder and Chairman and largest stockholder, to
               extract hundreds of millions of dollars of value that rightfully belongs to ACS’s public shareholders
               for himself. Per the agreement, Deason’s consideration amounted to over a 50% premium when
               compared to the consideration paid to ACS’s public stockholders. The ACS Board further breached
               its fiduciary duties by agreeing to certain deal protections in the merger agreement that essentially
               locked up the transaction between ACS and Xerox. After seeking a preliminary injunction to enjoin
               the deal and engaging in intense discovery and litigation in preparation for a looming trial date,
               Plaintiffs reached a global settlement with Defendants for $69 million. In the settlement, Deason
               agreed to pay $12.8 million, while ACS agreed to pay the remaining $56.1 million.



CASE:          IN RE DOLLAR GENERAL CORPORATION SHAREHOLDER LITIGATION
COURT:         Sixth Circuit Court for Davidson County, Tennessee; Twentieth Judicial District, Nashville
HIGHLIGHTS:    Holding Board accountable for accepting below-value “going private” offer.
DESCRIPTION:   A Nashville, Tennessee corporation that operates retail stores selling discounted household goods,
               in early March 2007, Dollar General announced that its Board of Directors had approved the
               acquisition of the company by the private equity firm Kohlberg Kravis Roberts & Co. (“KKR”).
               BLB&G, as Co-Lead Counsel for the City of Miami General Employees’ & Sanitation
               Employees’ Retirement Trust, filed a class action complaint alleging that the “going private”
               offer was approved as a result of breaches of fiduciary duty by the board and that the price offered
               by KKR did not reflect the fair value of Dollar General’s publicly-held shares. On the eve of the
               summary judgment hearing, KKR agreed to pay a $40 million settlement in favor of the
               shareholders, with a potential for $17 million more for the Class.




                                                             16
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 28 of 39 PageID #:2064



CASE:          LANDRY’S RESTAURANTS, INC. SHAREHOLDER LITIGATION
COURT:         Delaware Court of Chancery – New Castle County
HIGHLIGHTS:    Protecting shareholders from predatory CEO’s multiple attempts to take control of Landry’s
               Restaurants through improper means. Our litigation forced the CEO to increase his buyout offer by
               four times the price offered and obtained an additional $14.5 million cash payment for the class.
DESCRIPTION:   In this derivative and shareholder class action, shareholders alleged that Tilman J. Fertitta –
               chairman, CEO and largest shareholder of Landry’s Restaurants, Inc. – and its Board of Directors
               stripped public shareholders of their controlling interest in the company for no premium and
               severely devalued remaining public shares in breach of their fiduciary duties. BLB&G’s
               prosecution of the action on behalf of Plaintiff Louisiana Municipal Police Employees’
               Retirement System resulted in recoveries that included the creation of a settlement fund composed
               of $14.5 million in cash, as well as significant corporate governance reforms and an increase in
               consideration to shareholders of the purchase price valued at $65 million.




                                                   17
  Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 29 of 39 PageID #:2065




               E MPLOYMENT D ISCRIMINATION AND C IVI L R IGHTS

CASE:          ROBERTS V. TEXACO, INC.
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    BLB&G recovered $170 million on behalf of Texaco’s African-American employees and
               engineered the creation of an independent “Equality and Tolerance Task Force” at the company.
DESCRIPTION:   Six highly qualified African-American employees filed a class action complaint against Texaco
               Inc. alleging that the company failed to promote African-American employees to upper level jobs
               and failed to compensate them fairly in relation to Caucasian employees in similar positions.
               BLB&G’s prosecution of the action revealed that African-Americans were significantly under-
               represented in high level management jobs and that Caucasian employees were promoted more
               frequently and at far higher rates for comparable positions within the company. The case settled
               for over $170 million, and Texaco agreed to a Task Force to monitor its diversity programs for five
               years – a settlement described as the most significant race discrimination settlement in history.

CASE:          E CO A - G MAC /N MA C/ F O R D / T O Y O T A /C H R Y S L E R - C O N S U M E R F I N A N C E
               DISCRIMINATION LITIGATION
COURT:         Multiple jurisdictions

HIGHLIGHTS:    Landmark litigation in which financing arms of major auto manufacturers are compelled to cease
               discriminatory “kick-back” arrangements with dealers, leading to historic changes to auto financing
               practices nationwide.
DESCRIPTION:   The cases involve allegations that the lending practices of General Motors Acceptance Corporation,
               Nissan Motor Acceptance Corporation, Ford Motor Credit, Toyota Motor Credit and
               DaimlerChrysler Financial cause African-American and Hispanic car buyers to pay millions of
               dollars more for car loans than similarly situated white buyers. At issue is a discriminatory
               kickback system under which minorities typically pay about 50% more in dealer mark-up which is
               shared by auto dealers with the Defendants.
                NM AC : The United States District Court for the Middle District of Tennessee granted final
                approval of the settlement of the class action against Nissan Motor Acceptance Corporation
                (“NMAC”) in which NMAC agreed to offer pre-approved loans to hundreds of thousands of
                current and potential African-American and Hispanic NMAC customers, and limit how much it
                raises the interest charged to car buyers above the company’s minimum acceptable rate.
                GM AC : The United States District Court for the Middle District of Tennessee granted final
                approval of a settlement of the litigation against General Motors Acceptance Corporation
                (“GMAC”) in which GMAC agreed to take the historic step of imposing a 2.5% markup cap on
                loans with terms up to 60 months, and a cap of 2% on extended term loans. GMAC also agreed to
                institute a substantial credit pre-approval program designed to provide special financing rates to
                minority car buyers with special rate financing.
                D A I M L E R C H R Y S L E R : The United States District Court for the District of New Jersey granted
                final approval of the settlement in which DaimlerChrysler agreed to implement substantial
                changes to the company’s practices, including limiting the maximum amount of mark-up dealers
                may charge customers to between 1.25% and 2.5% depending upon the length of the customer’s
                loan. In addition, the company agreed to send out pre-approved credit offers of no-markup loans
                to African-American and Hispanic consumers, and contribute $1.8 million to provide consumer
                education and assistance programs on credit financing.
                F O R D M O T O R C R E D I T : The United States District Court for the Southern District of New York
                granted final approval of a settlement in which Ford Credit agreed to make contract disclosures
                informing consumers that the customer’s Annual Percentage Rate (“APR”) may be negotiated and
                that sellers may assign their contracts and retain rights to receive a portion of the finance charge.



                                                          18
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 30 of 39 PageID #:2066




           CLIENTS AND FEES
           We are firm believers in the contingency fee as a socially useful, productive and satisfying basis of
           compensation for legal services, particularly in litigation. Wherever appropriate, even with our
           corporate clients, we will encourage retention where our fee is contingent on the outcome of the
           litigation. This way, it is not the number of hours worked that will determine our fee, but rather
           the result achieved for our client.

           Our clients include many large and well known financial and lending institutions and pension
           funds, as well as privately-held companies that are attracted to our firm because of our reputation,
           expertise and fee structure. Most of the firm’s clients are referred by other clients, law firms and
           lawyers, bankers, investors and accountants. A considerable number of clients have been referred
           to the firm by former adversaries. We have always maintained a high level of independence and
           discretion in the cases we decide to prosecute. As a result, the level of personal satisfaction and
           commitment to our work is high.




                                                   19
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 31 of 39 PageID #:2067




           IN THE PUBLIC INTEREST
           Bernstein Litowitz Berger & Grossmann LLP is guided by two principles: excellence in legal
           work and a belief that the law should serve a socially useful and dynamic purpose. Attorneys at
           the firm are active in academic, community and pro bono activities, as well as participating as
           speakers and contributors to professional organizations. In addition, the firm endows a public
           interest law fellowship and sponsors an academic scholarship at Columbia Law School.

           B ERNSTEIN L ITOWITZ B ERGER & G ROSSMANN P UBLIC I NTEREST L AW F ELLOWS
           C O L U M B I A L A W S C H O O L − BLB&G is committed to fighting discrimination and effecting
           positive social change. In support of this commitment, the firm donated funds to Columbia Law
           School to create the Bernstein Litowitz Berger & Grossmann Public Interest Law Fellowship.
           This newly endowed fund at Columbia Law School will provide Fellows with 100% of the
           funding needed to make payments on their law school tuition loans so long as such graduates
           remain in the public interest law field. The BLB&G Fellows are able to begin their careers free of
           any school debt if they make a long-term commitment to public interest law.

           F I R M SP O N SO R S HI P O F H ER J US T I CE
           N E W Y O R K , N Y − BLB&G is a sponsor of Her Justice, a non-profit organization in New York
           City dedicated to providing pro bono legal representation to indigent women, principally battered
           women, in connection with the myriad legal problems they face. The organization trains and
           supports the efforts of New York lawyers who provide pro bono counsel to these women. Several
           members and associates of the firm volunteer their time to help women who need divorces from
           abusive spouses, or representation on issues such as child support, custody and visitation. To read
           more about Her Justice, visit the organization’s website at www.herjustice.org.

           T H E P AU L M. B ER N ST E I N M E MO R I A L S C HO L A R S HI P
           C O L U M B I A L A W S C H O O L − Paul M. Bernstein was the founding senior partner of the firm. Mr.
           Bernstein led a distinguished career as a lawyer and teacher and was deeply committed to the
           professional and personal development of young lawyers. The Paul M. Bernstein Memorial
           Scholarship Fund is a gift of the firm and the family and friends of Paul M. Bernstein, and is
           awarded annually to one or more second-year students selected for their academic excellence in
           their first year, professional responsibility, financial need and contributions to the community.

           F I R M SP O N SO R S HI P O F C I T Y Y E A R N EW Y O R K
           N E W Y O R K , N Y − BLB&G is also an active supporter of City Year New York, a division of
           AmeriCorps. The program was founded in 1988 as a means of encouraging young people to
           devote time to public service and unites a diverse group of volunteers for a demanding year of
           full-time community service, leadership development and civic engagement. Through their
           service, corps members experience a rite of passage that can inspire a lifetime of citizenship and
           build a stronger democracy.

           M AX W. B E R GE R P R E -L AW P R O G R A M
           B A R U C H C O L L E G E − In order to encourage outstanding minority undergraduates to pursue a
           meaningful career in the legal profession, the Max W. Berger Pre-Law Program was established at
           Baruch College. Providing workshops, seminars, counseling and mentoring to Baruch students,
           the program facilitates and guides them through the law school research and application process,
           as well as placing them in appropriate internships and other pre-law working environments.

           N E W Y O R K S AY S T H AN K Y O U F O U N D AT I O N
           N E W Y O R K , N Y − Founded in response to the outpouring of love shown to New York City by
           volunteers from all over the country in the wake of the 9/11 attacks, The New York Says Thank
           You Foundation sends volunteers from New York City to help rebuild communities around the
           country affected by disasters. BLB&G is a corporate sponsor of NYSTY and its goals are a
           heartfelt reflection of the firm’s focus on community and activism.


                                                    20
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 32 of 39 PageID #:2068




           OUR ATTORNEYS

           M EMBERS

           S A L V A T O R E J. G R A Z I A N O is widely recognized as one of the top securities litigators in the
           country. He has served as lead trial counsel in a wide variety of major securities fraud class
           actions, recovering billions of dollars on behalf of institutional investors and hedge fund clients.

           Sal is widely recognized as one of the top securities litigators in the country. He has served as
           lead trial counsel in a wide variety of major securities fraud class actions, recovering billions of
           dollars on behalf of institutional investors and hedge fund clients.

           Over the course of his distinguished career, Sal has successfully litigated many high-profile cases,
           including: Merck & Co., Inc. (Vioxx) Sec. Litig.(D.N.J.); In re Schering-Plough Corp./ENHANCE
           Sec. Litig. (D.N.J.); New York State Teachers' Retirement System v. General Motors Co. (E.D.
           Mich.); In re MF Global Holdings Limited Sec. Litig. (S.D.N.Y); In re Raytheon Sec. Litig. (D.
           Mass.); In re Refco Sec. Litig. (S.D.N.Y.); In re MicroStrategy, Inc. Sec. Litig. (E.D. Va.); In re
           Bristol Myers Squibb Co. Sec. Litig. (S.D.N.Y.); and In re New Century Sec. Litig. (C.D. Cal.).

           Industry observers, peers and adversaries routinely honor Sal for his accomplishments. He is one
           of the "Top 100 Trial Lawyers" in the nation and a "Litigation Star" according to Benchmark
           Litigation, which credits him for performing “top quality work.” Chambers USA describes Sal as
           "wonderfully talented…a smart, aggressive lawyer who works hard for his clients," and "the go-to
           for the biggest cases," while Legal 500 praises him as a "highly effective litigator.” Heralded
           multiple times as one of a handful of Securities Litigation and Class Action "MVPs" in the nation
           by Law360, he has also been named a "Litigation Trailblazer" by The National Law Journal. Sal is
           also one of Lawdragon’s "500 Leading Lawyers in America," named as a leading mass tort and
           plaintiff class action litigator by Best Lawyers®, and is one of Thomson Reuters' Super Lawyers.

           A highly esteemed voice on investor rights, regulatory and market issues, in 2008 he was called
           upon by the Securities and Exchange Commission's Advisory Committee on Improvements to
           Financial Reporting to give testimony as to the state of the industry and potential impacts of
           proposed regulatory changes being considered. He is the author and co-author of numerous
           articles on developments in the securities laws, and was chosen, along with several of his BLB&G
           partners, to author the first chapter - “Plaintiffs’ Perspective” - of Lexis/Nexis’s seminal industry
           guide Litigating Securities Class Actions.

           A member of the firm's Executive Committee, Sal has previously served as the President of the
           National Association of Shareholder & Consumer Attorneys, and has served as a member of the
           Financial Reporting Committee and the Securities Regulation Committee of the Association of the
           Bar of the City of New York. He regularly speaks on securities fraud litigation and shareholder
           rights, and has guest lectured at Columbia Law School on the topic.

           Prior to entering private practice, Sal served as an Assistant District Attorney in the Manhattan
           District Attorney's Office.

           EDUCATION: New York University College of Arts and Science, B.A., psychology, cum laude,
           1988. New York University School of Law, J.D., cum laude, 1991.

           BAR ADMISSIONS: New York; U.S. District Courts for the Southern and Eastern Districts of
           New York; U.S. District Court for the Eastern District of Michigan; U.S. Courts of Appeals for the
           First, Second, Third, Fourth, Sixth, Ninth and Eleventh Circuits.



                                                     21
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 33 of 39 PageID #:2069



           A V I J O S E F S O N prosecutes securities fraud litigation for the firm’s institutional investor clients,
           and has participated in many of the firm’s significant representations, including In re SCOR
           Holding (Switzerland) AG Securities Litigation, which resulted in a recovery worth in excess of
           $143 million for investors. He was also a member of the team that litigated the In re OM Group,
           Inc. Securities Litigation, which resulted in a settlement of $92.4 million.

           As a member of the firm’s new matter department, Avi counsels institutional clients on potential
           legal claims. He has presented argument in several federal and state courts, including an appeal he
           argued before the Delaware Supreme Court.

           Recognized as a “Leading Plaintiff Financial Lawyer” by Lawdragon, Avi is also actively
           involved in the M&A litigation practice, and represented shareholders in the litigation arising from
           the proposed acquisitions of Ceridian Corporation and Anheuser-Busch. A member of the firm’s
           subprime litigation team, he has participated in securities fraud actions arising from the collapse of
           subprime mortgage lender American Home Mortgage and the actions against Lehman Brothers,
           Citigroup and Merrill Lynch, arising from those banks’ multi-billion dollar loss from mortgage-
           backed investments. Avi has prosecuted actions against Deutsche Bank and Morgan Stanley
           arising from their sale of mortgage-backed securities, and is advising U.S. and foreign institutions
           concerning similar claims arising from investments in mortgage-backed securities.

           Avi practices in the firm’s Chicago and New York offices.

           EDUCATION: Brandeis University, B.A., cum laude, 1997. Northwestern University, J.D., 2000;
           Dean’s List; Justice Stevens Public Interest Fellowship (1999); Public Interest Law Initiative
           Fellowship (2000).

           BAR ADMISSIONS: Illinois, New York; U.S. District Courts for the Southern District of New
           York and the Northern District of Illinois.


           J A M E S A. H A R R O D has two decades of experience prosecuting complex litigation in federal
           courts. focuses on representing the firm’s institutional investor clients in securities fraud-related
           matters. He also leads the firm’s Global Securities and Litigation Monitoring Team, which
           monitors securities class and group actions around the world, and advises BLB&G’s institutional
           clients on potential avenues for recovery in those actions.

           Over the course of his career, he has obtained over a billion dollars on behalf of investor classes.
           His high-profile cases include In re Motorola Securities Litigation, in which he was a key member
           of the team that represented the State of New Jersey’s Division of Investment and obtained a $190
           million recovery three days before trial. Recently, Jim represented the class of investors in the
           securities litigation against General Motors arising from GM’s recall of vehicles with defective
           ignition switches, and recovered $300 million for investors – the second largest securities class
           action recovery in the Sixth Circuit.

           Jim represented institutional investors in several cases concerning the issuance of residential
           mortgage-backed securities prior to the financial crisis. He worked on the team that recovered
           $500 million for investors in In re Bear Stearns Mortgage Pass-Through Certificates Litigation,
           which brought claims related to the issuance of mortgage pass-through certificates during 2006
           and 2007. In a similar action, Plumbers’ & Pipefitters’ Local #562 Supplemental Plan & Trust v.
           J.P. Morgan Acceptance Corp. I, he recovered $280 million on behalf of a class of investors.
           Other mortgage-backed securities cases that Jim worked on include In re Lehman Bros. Mortgage-
           Backed Securities Litigation ($40 million recovery), and Tsereteli v. Residential Asset
           Securitization Trust 2006-A8 ($10.9 million recovery).

           Most recently, Jim has been active in prosecuting claims against foreign issuers and actions
           brought under foreign law, including the Israeli securities law claims currently being prosecuted in
           the Perrigo securities litigation. He served as lead counsel in a class action led by Union Asset

                                                     22
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 34 of 39 PageID #:2070



           Management AG—a large German asset manager—in litigation against Equifax related to its 2017
           data breach which resulted in a $149 million settlement. He also served as lead counsel in
           litigation on behalf of investors in Volkswagen AG American Depository Receipts (ADRs),
           relating to the automaker’s alleged misrepresentations concerning its “clean diesel” cars, which
           claims involved significant international discovery, foreign jurisdictional issues and overlapping
           litigation in Europe.

           Among his other notable recoveries are The Department of the Treasury of the State of New Jersey
           and its Division of Investment v. Cliffs Natural Resources Inc. (class recovery of $84 million);
           Anwar, et al., v. Fairfield Greenwich Limited (settlement valued at $80 million); In re Service
           Corporation International ($65 million recovery); Danis v. USN Communications, Inc. ($44.6
           million recovery); In re Tower Group International, Ltd. Securities Litigation ($20.5 million
           recovery); In re Navistar International Securities Litigation ($13 million recovery); and In re
           Sonus Networks, Inc. Securities Litigation-II ($9.5 million recovery).

           In connection with his representation of institutional investors, he is a frequent speaker to public
           pension fund organizations and trustees concerning fiduciary duties, emerging issues in securities
           litigation and the financial markets.

           Jim is recognized as a "Litigation Star" by Benchmark Litigation, and is regularly named to lists of
           leading practitioners by Lawdragon, and Thomson Reuters' Super Lawyers for his professional
           achievements.

           EDUCATION: Skidmore College, B.A.; George Washington University Law School, J.D.

           BAR ADMISSIONS: New York; U.S. Courts of Appeals for the Second, Third, Sixth and
           Seventh Circuits; U.S. District Courts for the Eastern and Southern Districts of New York.


           M I C H A E L D. B L A T C H L E Y ’s practice focuses on securities fraud litigation. He is currently a
           member of the firm’s new matter department in which he, along with a team of attorneys, financial
           analysts, forensic accountants, and investigators, counsels the firm’s clients on their legal claims.

           Michael has also served as a member of the litigation teams responsible for prosecuting a number
           of the firm’s cases. For example, Michael was a key member of the team that recovered $150
           million for investors in In re JPMorgan Chase & Co. Securities Litigation, a securities fraud class
           action arising out of misrepresentations and omissions concerning JPMorgan’s Chief Investment
           Office, the company’s risk management systems, and the trading activities of the so-called
           “London Whale.” He was also a member of the litigation team in In re Medtronic, Inc. Securities
           Litigation, an action arising out of allegations that Medtronic promoted the Infuse bone graft for
           dangerous “off-label” uses, which resulted in an $85 million recovery for investors. In addition,
           Michael prosecuted a number of cases related to the financial crisis, including several actions
           arising out of wrongdoing related to the issuance of residential mortgage-backed securities and
           other complex financial products.

           Most recently, he was a member of the team that achieved a $250 million recovery for investors in
           In re Allergan, Inc. Proxy Violation Securities Litigation, a precedent-setting case alleging
           unlawful insider trading by hedge fund billionaire Bill Ackman.

           Among other accolades, Michael has been repeatedly named to Benchmark Litigation’s “Under 40
           Hot List,” selected as a leading plaintiff financial lawyer by Lawdragon, and recognized as a
           “Rising Star” by Thomson Reuters’ Super Lawyers. He frequently presents to public pension fund
           professionals and trustees concerning legal issues impacting their funds, has authored numerous
           articles addressing investor rights, including, for example, a chapter in the Practising Law
           Institute’s 2017 Financial Services Mediation Answer Book, and is a regular speaker at
           institutional investor conferences. While attending Brooklyn Law School, Michael held a judicial
           internship position for the Honorable David G. Trager, United States District Judge for the Eastern

                                                     23
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 35 of 39 PageID #:2071



           District of New York. In addition, he worked as an intern at The Legal Aid Society’s Harlem
           Community Law Office, as well as at Brooklyn Law School’s Second Look and Workers’ Rights
           Clinics, and provided legal assistance to victims of Hurricane Katrina in New Orleans, Louisiana.

           EDUCATION: University of Wisconsin, B.A., 2000. Brooklyn Law School, J.D., cum laude,
           2007; Edward V. Sparer Public Interest Law Fellowship, William Payson Richardson Memorial
           Prize, Richard Elliott Blyn Memorial Prize, Editor for the Brooklyn Law Review, Moot Court
           Honor Society.

           BAR ADMISSIONS: New York, New Jersey; U.S. District Courts for the Southern District of
           New York, the District of New Jersey and the Western District of Wisconsin; U.S. Court of
           Appeals for the Ninth Circuit.


           S C O T T R. F O G L I E T T A prosecutes securities fraud, corporate governance, and shareholder
           rights litigation on behalf of the firm’s institutional investor clients. As a member of the New
           Matter Department—the firm’s case development and client advisory group—Scott advises Taft-
           Hartley pension funds, public pension funds, and other institutional investors on potential legal
           claims.

           Scott was an integral member of the team that advised the firm’s clients in numerous matters
           including in securities class actions against Wells Fargo, which resulted in a $480 million
           recovery; against Salix, which resulted in a $210 million recovery; and against Equifax, which
           resulted in a $149 million recovery. Scott was also key part of the teams that evaluated and
           developed novel case theories or claims in numerous cases, such as Willis Towers Watson, which
           arose from misrepresentations made in a proxy statement in connection with the merger between
           Willis Group and Towers Watson and was recently resolved for $75 million (pending court
           approval), and the ongoing securities class action against Perrigo arising from misrepresentations
           made in connection with a tender offer for shares trading in both the United States and Israel. Scott
           was also a member of the team that secured our clients’ appointments as lead plaintiffs in the
           ongoing securities class actions against Boeing, Kraft Heinz, and Luckin Coffee, among others.

           Scott was a member of the litigation teams representing investors in securities class actions against
           FleetCor Technologies, which resulted in a $50 million recovery, and Lumber Liquidators, which
           achieved a recovery of $45 million. He is currently part of the team advising one of the firm’s
           institutional investor clients in a shareholder derivative action against the board of directors of
           FirstEnergy Corp. arising from the company’s role in an egregious public corruption scandal. For
           his accomplishments, Scott has been regularly named a New York “Rising Star” in the area of
           securities litigation by Thomson Reuters Super Lawyers.

           Before joining the firm, Scott represented institutional and individual clients in a wide variety of
           complex litigation matters, including securities class actions, commercial litigation, and ERISA
           litigation. Prior to law school, Scott earned his M.B.A. in finance from Clark University and
           worked as a capital markets analyst for a boutique investment banking firm.

           EDUCATION: Clark University, B.A., Management, cum laude, 2006. Clark University,
           Graduate School of Management, M.B.A., Finance, 2007. Brooklyn Law School, J.D., 2010.

           BAR ADMISSIONS: New York; New Jersey; U.S. District Court for the Southern and Eastern
           Districts of New York; U. S. District Court District of New Jersey


           A D A M H O L L A N D E R prosecutes securities fraud, corporate governance, and shareholder rights
           litigation on behalf of the firm’s clients in federal and state trial and appellate courts.

           Adam has represented investors and corporations in state and federal trial and appellate courts
           throughout the country. Adam was a senior member of the team that recovered $74 million for

                                                     24
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 36 of 39 PageID #:2072



           investors in In re SunEdison, Inc. Securities Litigation, which concerned what had been the
           world’s largest renewable energy company. Adam also played a key role in recovering $48
           million for investors in the American Depository Receipts (ADRs) of Volkswagen, relating to the
           automaker’s alleged misrepresentations concerning its “clean diesel” cars, which claims involved
           significant international discovery, foreign jurisdictional issues and overlapping litigation in
           Europe. Adam’s work was integral to the successful appeal before the U.S. Court of Appeals for
           the Fifth Circuit in Bach v. Amedisys, Inc., as well as the litigation on remand that resulted in a
           $43.75 million recovery in that case.

           In addition, Adam has been an integral member of the teams that prosecuted, among other matters,
           cases concerning Salix Pharmaceuticals (recovering $210 million for investors); Cliffs Natural
           Resources ($84 million); Dole Food Company ($74 million); Opko Health ($16.5 million); Kinder
           Morgan Energy Partners ($27.5 million); Sanchez Energy ($28.5 million and governance reforms
           following successful appeal); Trinity Industries ($7.5 million) and Abercrombie & Fitch
           (significant corporate governance reforms in areas of ethics, internal controls, and executive
           compensation).

           Currently, Adam is a senior member of the teams prosecuting cases against Boeing, arising out of
           the fatal crashes of the company’s 737 MAX aircraft, as well as cases on behalf of investors in
           Novo Nordisk, Six Flags, Baxter International, and CVS.

           Prior to joining BLB&G, Adam clerked for the Honorable Barrington D. Parker, Jr. of the U.S.
           Court of Appeals for the Second Circuit, and for the Honorable Stefan R. Underhill of the U.S.
           District Court for the District of Connecticut. He has also been associated with two New York
           defense firms, where he gained significant experience representing clients in various civil,
           criminal, and regulatory matters, including white-collar and complex commercial litigation.

           EDUCATION: Brown University, A.B., magna cum laude, 2001, Urban Studies. Yale Law
           School, J.D., 2006; Editor, Yale Law and Policy Review.

           BAR ADMISSIONS: New York; Connecticut; U.S. District Courts for the Southern District of
           New York and the District of Connecticut; U.S. Court of Appeals for the Second Circuit.




           S ENIOR C OUNSEL

           D A V I D L. D U N C A N ’s practice concentrates on the settlement of class actions and other
           complex litigation and the administration of class action settlements.

           Prior to joining BLB&G, David worked as a litigation associate at Debevoise & Plimpton, where
           he represented clients in a wide variety of commercial litigation, including contract disputes,
           antitrust and products liability litigation, and in international arbitration. In addition, he has
           represented criminal defendants on appeal in New York State courts and has successfully litigated
           on behalf of victims of torture and political persecution from Sudan, Côte d’Ivoire, and Serbia in
           seeking asylum in the United States.

           While in law school, David served as an editor of the Harvard Law Review. After law school, he
           clerked for Judge Amalya L. Kearse of the U.S. Court of Appeals for the Second Circuit.

           EDUCATION: Harvard College, A.B., Social Studies, magna cum laude, 1993. Harvard Law
           School, J.D., magna cum laude, 1997.

           BAR ADMISSIONS: New York; Connecticut; U.S. District Court for the Southern District of
           New York.


                                                   25
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 37 of 39 PageID #:2073




           A SSOCIATES

           A L E X A N D E R T . P A Y N E practices out of the firm’s New York Office in the securities litigation
           group.

           Previously, he was a Litigation & Dispute Resolution associate at Mayer Brown’s New York
           office where he represented financial institutions and corporations in complex commercial and
           securities litigations, shareholder derivative and fiduciary duty litigations, and governmental
           investigations.

           Alex graduated from the Fordham University School of Law in 2015. While in law school, Alex
           was a member of the Fordham Law Review and served as a Judicial Intern for the Honorable
           Loretta A. Preska, while she was Chief Judge of the United States District Court for the Southern
           District of New York (S.D.N.Y.).

           In recognition of his academic excellence, he was a recipient of the Henrietta Metcalf Contract
           Prize for excellence in the study of Contracts and the Fordham University School of Law Legal
           Writing Award.

           Prior to entering the legal profession, Alex worked in the field of education policy analysis for the
           Graduate School of Education and Human Development at The George Washington University in
           Washington DC.

           EDUCATION: The George Washington University, B.A., magna cum laude, 2006. Fordham
           University School of Law, J.D., cum laude, 2015; Fordham Law Review; Henrietta Metcalf Prize
           for Excellence in the Study of Contracts; Fordham University School of Law Legal Writing
           Award.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York.


           C A T H E R I N E E. V A N K A M P E N ’s law practice concentrates on class action settlement
           administration. She manages the Firm’s qualified settlement funds and claims administration for
           settlements achieved by the Firm. Catherine is responsible for initiating and managing the claims
           administration process and working with the Court-appointed claims administrators and
           investment banks for the benefit of the Classes represented by the Firm. Catherine works closely
           with the Firm’s partners to apply for Court approval in various jurisdictions throughout the United
           States for the disbursement of settlement funds. She regularly interfaces with institutional and
           retail investors to explain the claims administration process and to assist them with filing their
           claims.

           Catherine also has extensive experience in complex litigation and litigation management, having
           served as a team leader and overseen attorney teams in many of the firm’s most high-profile cases
           during the 2008 Financial Crisis. Catherine has worked on more than two dozen high-value cases.
           Fluent in Dutch, she has served as the lead investigator and led discovery efforts in actions
           involving international corporations and financial institutions headquartered in Belgium and the
           Netherlands. She is certified in E-Discovery and Healthcare Compliance.

           Prior to joining BLB&G, Catherine focused on complex litigation initiated by institutional
           investors and the Federal Government. She has worked on litigation and investigations related to


                                                    26
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 38 of 39 PageID #:2074



           regulatory enforcement actions, corporate governance, and compliance matters as well as
           conducted extensive discovery in English and Dutch in cross-border litigation.

           Since attending law school, Catherine has been deeply committed to public and pro bono service
           to underserved communities. Through her volunteer work, Catherine has been a champion of
           social change and justice, particularly for immigrant and refugee women and children. As a
           member of the New York City Bar Association’s United Nations Committee and African Affairs
           Committee, for the past two years she has spearheaded organizing the highly successful and
           widely-praised International Law Conference on the Status of Women, Pro Bono Engagement
           Fair, EPIQ Women Awards and Huntington Her Hero Awards, featuring the Under Secretary and
           Special Representative to the Secretary General of the United Nations for the Prevention of
           Violence Against Women, and other prominent, progressive women’s advocates from the New
           York Legal Community.

           A committed humanitarian, Catherine was honored as the 2018 Ambassador Medalist at the New
           Jersey Governor’s Jefferson Awards for Outstanding Public Service for her international
           humanitarian and pro bono work with refugees. The Jefferson Awards, issued by the Jefferson
           Awards Foundation that was founded by Jacqueline Kennedy Onassis, are awarded by state
           governors and are considered America’s highest honor for public service bestowed by the United
           States Senate. Catherine was also honored in Princeton, New Jersey, by her high school alma
           mater, Stuart Country Day School, in its 2018 Distinguished Alumnae Gallery for her
           humanitarian and pro bono efforts on behalf of Yezidi and Christian women and children afflicted
           by war in Iraq and Syria. In 2020, Catherine was accepted as a SHESOURCE legal expert
           advocating for the needs of immigrant and refugee women by the Women’s Media Center,
           founded by Gloria Steinem, Jane Fonda, and Robin Morgan. In 2021, Catherine was appointed a
           Global Goals Ambassador for Clean Water and Sanitation by the United Nations Association of
           the USA, the sister organization of the United Nations Foundation USA founded by Eleanor
           Roosevelt. She is a recipient of several honors recognizing her pro bono work and commitment to
           social issues, including an invitation to attend the 2020 Tory Burch Foundation Embrace Ambition
           Summit and an appointment to the Advisory Board of the National Center for Girls’ Leadership in
           Princeton, New Jersey, in 2021.

           Catherine is an active member of the American Bar Association, New York Bar Association, New
           York City Bar Association, New Jersey Bar Association, and the National Association of Women
           Lawyers. In 2020, Catherine was appointed to the New York State Bar Association’s President’s
           Leadership Development Committee. In 2021, Catherine was appointed to the New Jersey State
           Bar Association’s Class Actions, International Law and Organizations, and Special Civil Part
           Committees. As part of her pro bono legal work, she serves on two Boards of international NGOs
           serving refugees and internally displaced persons in the Middle East and Africa and rescuing
           exploited and trafficked women and girls. Closer to home, Catherine serves as an advisor to
           minority business owners in the New York City area on legal issues impacting their businesses.

           Catherine clerked for the Honorable Mary M. McVeigh in the Superior Court of New Jersey
           where she was trained as a court-certified mediator. While in law school she interned at the Center
           for Social Justice’s Immigration Law Clinic at Seton Hall University School of Law. Catherine is
           a Graduate of the American Inns of Court.

           EDUCATION: Indiana University, B.A., Political Science, 1988. Seton Hall University School
           of Law, J.D., 1998.

           BAR ADMISSIONS: New York, New Jersey.

           LANGUAGES: Dutch, German.




                                                  27
Case: 1:19-cv-07786 Document #: 66-5 Filed: 07/06/21 Page 39 of 39 PageID #:2075




           S ENIOR S TAFF A TTORNEY

           S A U N D R A Y A K L I N has worked on numerous matters at BLB&G, including Lehigh County
           Employees’ Retirement System v. Novo Nordisk A/S et al, In re SunEdison, Inc., Securities
           Litigation, Hefler et al. v. Wells Fargo & Company et al., Medina, et al v. Clovis Oncology, Inc.,
           et al, In re Virtus Investment Partners, Inc. Securities Litigation, In re Washington Mutual, Inc.
           Securities Litigation and In re Bristol-Myers Squibb Co. Securities Litigation.

           Prior to joining the firm, Ms. Yaklin was an associate at Reed Smith, LLP, and Assistant General
           Counsel at Exelon Corporation (PECO Energy Co.).

           EDUCATION: Western Michigan University, M.F.A, cum laude, 1991. University of
           Pennsylvania Law School, J.D., 1996.

           BAR ADMISSIONS: New York.


           S TAFF A TTORNEY

           S H E E L A A I Y A P P A S A M Y worked on numerous matters at BLB&G, including Roofers' Pension
           Fund v. Joseph C. Papa, et al (“Perrigo”), In re Akorn, Inc., Securities Litigation, Mudrick
           Capital Management, L.P. v. Globalstar, Inc., St. Paul Teachers’ Retirement Fund Association v.
           HeartWare International, Inc., Hefler et al. v. Wells Fargo & Company et al., Fresno County
           Employees’ Retirement Association v. comScore, Inc., Medina et al v. Clovis Oncology, Inc., et al
           and In re Salix Pharmaceuticals, Ltd., Securities Litigation.

           Prior to joining the firm in 2016, Sheela was a law clerk at the U.S. Attorney’s Office for the
           Eastern District of New York, where she worked on complex financial litigations. Previously, she
           was a staff attorney at Simpson Thacher & Bartlett, where she represented several international
           banks in residential mortgage-backed securities matters.

           EDUCATION: Boston University, B.A., 2001. University of Miami School of Law, J.D., 2004.
           Florida International University, M.B.A., 2008.

           BAR ADMISSION: Florida.




                                                  28
